          MEMO
          Case     ENDORSED Document 76 Filed 12/29/20 Page 1 of 2
               1:20-cr-00660-ALC
                                     U.S. Department of Justice
[Type text]
                                                     United States Attorney
                                                     Southern District of New York

                                                     The Silvio J. Mollo Building
                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     December 28, 2020

VIA ECF AND E-MAIL

The Honorable Andrew L. Carter, Jr.
United States District Judge
Southern District of New York
500 Pearl Street                                                                    12/29/2020
New York, New York 10007

       Re:     United States v. Abduraman Iseni, 20 Cr. 660 (ALC)

Dear Judge Carter:

       The Government respectfully submits this letter motion, with the consent of defense
counsel, to request that the Court exclude Speedy Trial time until the initial pre-trial conference
on January 27, 2021 at 10:00 a.m.

        As background, on December 10, 2020, agents arrested 13 of the 16 charged defendants
and all 13 of these defendants were arraigned that same day before the Honorable Sarah Netburn,
United States Magistrate Judge. Judge Netburn excluded Speedy Trial time until December 28,
2020. The Court has scheduled the initial pre-trial conference for January 27, 2021 at 10:00 a.m.
With respect to discovery, the Government will confer with defense counsel regarding a protective
order and the potential appointment of a Coordinating Discovery Attorney (“CDA”) on behalf of
all defendants. So that the parties may discuss possible pre-trial dispositions; confer regarding
and, upon entry of the protective order, begin producing and reviewing discovery; and prepare for
the initial pre-trial conference, the parties respectfully request that the Court exclude time under
the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), from today’s date, December 28, 2020, up to
and including January 27, 2021, the date of the initial pre-trial conference before the Court, and
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submit that such exclusion of time is in the interest of justice. Counsel to the 13 defendants consent
to this request.


                                               Very truly yours,

                                               AUDREY STRAUSS
                                               Acting United States Attorney


                                           by: /s/ David R. Felton
                                               Samuel Raymond / David R. Felton
                                               Assistant United States Attorneys
                                               (212) 637-6519 / (914) 993-1908

cc: All defense counsel (by ECF and e-mail)


                                                                         12/29/20
